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              RACIAL PROFILING?
              A MULTIVARIATE ANALYSIS
              OF POLICE TRAFFIC STOP DATA

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                  Despite the significance of racial profiling as an issue of national concern,
                  little empirical research exists on whether police traffic stop practices dis-
                  proportionately impact minority drivers. Using data from 2,673 traffic stops
                  conducted by the Richmond, Virginia, Police Department in 2000, this article
                  explores the treatment by police of motorists of different races and ethnic
                  backgrounds. Minority citizens in general, and African Americans in partic-
                  ular, were disproportionately stopped compared with their percentage in the
                  driving-eligible population. However, they were searched no more frequently
                  than Whites; in fact, Whites were significantly more likely than minorities to
                  be the subjects of consent searches. Compared with Whites, and after con-
                  trolling for variables, minority drivers were more likely to be warned,
                  whereas Whites were more likely to be ticketed or arrested. Examining officer
                  race as a predictor revealed White officers were no more likely than minority
                  officers to stop, search, or arrest minority drivers.



              Racial profiling is one of the most significant issues in American law
              enforcement today. The question of whether police intentionally target per-
              sons because of their race is increasingly being debated by law enforcement
              officials, civil rights groups, and ordinary citizens. Equally troubling in the
              eyes of many are aggressive police traffic stop (or stop and frisk) practices
              that may have a disparate impact on minorities even if they are not intention-
              ally discriminatory. At least 10 states have passed laws requiring their law
              enforcement agencies to begin collecting data on the racial demographics of

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        motorists stopped by the police, and similar legislation has been introduced
        or is pending in a number of other states. Currently, U.S. Representative
        John Conyers (D-Michigan) is sponsoring the proposed Traffic Stops Sta-
        tistics Act that would mandate the collection of race-related traffic stops
        data by all state and local law enforcement agencies.
            Beginning in January 2000, the Richmond, Virginia, Police Department
        began collecting traffic stop data for the purpose of examining whether
        minorities were being disproportionately stopped, searched, or arrested by
        the Richmond police. Some of these data now serve as the basis for this arti-
        cle. In the article's first section, we briefly review the literature on the gen-
        eral treatment of minorities by police and on racial profiling specifically.
        The second section of the article describes in detail the methodology used to
        collect and analyze the data for this project. The third section presents the
        results of our analysis, and the article's final section is devoted to a discus-
        sion of our findings and of their implications for policy and future research.

                     BACKGROUND ON RACIAL PROFILING AND
                   ON THE TREATMENT OF MINORITIES BY POLICE


        RACE AND POLICING

           Historically, minorities, and particularly African Americans, have had
        physical force used against them or have been arrested or stopped by police
        at rates exceeding their percentage in the population. Although the ratio of
        African Americans to Whites shot by the police has fallen in recent years,
        Blacks still outnumber Whites as victims of police gunfire by a ratio of 3: 1
        (Geller & Scott, 1992; Sherman & Cohn, 1986). Worden's (1995) analysis
        of data from the Police Service's Study found that police officers were most
        likely to use force against male African American suspects, who were
        overrepresented among all targets of police use force. However, recent use
        of force studies have found no correlation between suspect race and the fre-
        quency or amount of force used by police (Alpert & Dunham, 1999).
            Even though African Americans comprise only 13% of the U.S. popula-
        tion, they accounted for nearly 30% of the total 1998 arrests, along with
        accounting for nearly one third of all property crime arrests and approxi-
        mately 40% of all violent crime arrests (Federal Bureau of Investigation,
        1998). Hepburn (1978) found that prosecutors were more likely to decline
        prosecutions involving African Americans than Whites, suggesting that
        more Blacks than Whites were arrested under conditions that would not
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        support formal prosecution. Examining data such as these, some have
        argued that the disparate treatment of minorities is the result of systemic dis-
        crimination by the criminal justice system (Mann, 1993). Others have found
        that race is usually not a factor in criminal justice processing and sentencing
        when all legal variables are taken into consideration and statistically con-
        trolled (Russell, 1998; Tonry, 1995; Wilbanks, 1987).
           Long before racial profiling during traffic stops rose to the forefront of
        public concern, police stop and frisk practices were a consistent source of
        friction between police and minority communities. As early as 1975, dis-
        proportionate stops of minorities were documented in San Diego, Califor-
        nia (Boydstun, 197 5). In recent years, the Christopher Commission (1991)
        found that the aggressive stop and frisk practices of the Los Angeles Police
        Department were a significant contributor to the preriot tensions between
        police and citizens in Los Angeles.

        RESEARCH ON RACIAL PROFILING

           Despite the perception among minorities of uneven treatment at the
        hands of police (Kennedy, 1997; Mann, 1993; "Report of the National
        Advisory Commission," 1968), empirical research on racial profiling is
        quite limited. One of the most comprehensive and methodologically sophis-
        ticated studies on racial profiling examined the stop and frisk practices of
        the New York City Police Department (NYPD) from January 1998 through
        March 1999 (New York Attorney General's Office, 1999). Researchers in
        this study found that although Blacks comprised only 25.6% of New York
        City's population, they accounted for 50.6% of all persons stopped by the
        NYPD. Hispanics were also overrepresented among persons stopped
        (23.7% of the population; 33% of persons stopped), whereas Whites were
        significantly underrepresented (43.4% of the population; 12.9% of persons
        stopped). Using Poisson regression, the researchers controlled for the dif-
        ferent rates at which minorities commit criminal offenses (as measured by
        arrests) and still found that Blacks (23% more) and Hispanics (39% more)
        were stopped more frequently than Whites across all crime categories.
        Interestingly, minorities were stopped more often than Whites on suspicion
        of committing a violent crime and less frequently than Whites on suspicion
        of committing a property crime.
           In December 1999, the San Jose (California) Police Department released
        the results of an analysis that it conducted of traffic stops in San Jose from
        July through September 1999. In San Jose, Hispanics make up 31 % of the
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        city's population and accounted for 43% of the persons stopped by police
        during the study period. Blacks were stopped at slightly higher rates than
        their population would suggest (4.5% of the population; 7% of persons
        stopped), whereas Whites (43% of the population; 29% of persons stopped)
        and Asians (21 % of the population; 16% of persons stopped) were under-
        represented among motorists stopped. The San Jose Police Department
        accounted for the higher stop percentages among Blacks and Hispanics by
        pointing out that more police officers are assigned on a per capita basis to
        minority areas of the city (because of a greater volume of calls for service)
        as compared with predominantly White areas of the city (San Jose Police
        Department, 1999).
           As the result of litigation over the discriminatory traffic stop practices of
        New Jersey State Troopers, the State of New Jersey undertook a study of the
        stop and search activities of troopers in two state police districts. Examining
        the stops that occurred from April 1997 through February 1999, and includ-
        ing most of 1996 and a few months from 1994, a New Jersey Attorney Gen-
        eral's team found that 627 of the 87,489 traffic stops involved a vehicle
        search. Of those searches, 77.2% involved Black or Hispanic motorists.
        During a similar time period, only 33.9% of the total traffic stops made in
        the two districts were of Blacks and Hispanics ("Interim Report of the State
        Police Review Team," 1999).
           Similar search disparities were found by Lamberth ( 1997) in his study of
        the stop and search practices of the Maryland and New Jersey State Police.
        In a visual survey of traffic violators along the I-95 corridor through Mary-
        land, Lamberth found that 17.5% of the speeding violators were Black,
        whereas 74.7% of the violators were White. However, of the 823 motorists
        searched along I-95 from January 1995 through September 1996, 600, or
        72.9%, were Black. In other words, Blacks were being stopped and
        searched far more frequently than the rate at which they were speeding
        along the interstate.
           Using municipal court records from Akron, Dayton, Toledo, and Colum-
        bus, Ohio, Harris ( 1999) examined racial profiling among police in those
        jurisdictions. Comparing the court record violator rates of Blacks and
        Whites with their percentage in the Ohio driving population, Harris found
        that Blacks were at least twice as likely as non-Blacks to be ticketed by
        police. However, in a recent report released by the Florida Highway Patrol,
        Florida troopers were found to have stopped Whites, Blacks, and Hispanics
        in the State of Florida at rates roughly equivalent to their percentages in the
        population. During the first 4 months of 2000, Blacks constituted 15.7% of
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        persons stopped and represented 13.6% of the Florida population. Hispan-
        ics were somewhat overrepresented among persons stopped, accounting for
        17.9% of the stops but only 12% of the population. Whites were stopped at
        rates nearly identical to their overall percentage in the population (Florida
        Highway Patrol, 2000).
           Most recently, a Vehicle Stop Study from the San Diego (California)
        Police Department has become available (San Diego Police Department,
        2000). Using census data for comparison purposes, the researchers in that
        study found that both African Americans and Hispanics were over-
        represented among persons stopped, searched, and arrested by the San
        Diego Police. They point out, however, that because of San Diego's proxim-
        ity to Mexico, census data on the driving-eligible population may not be
        accurate and may significantly underrepresent the percentage of Hispanic
        drivers in San Diego.
           With the exception of the New York study, most of the existing research
        on racial profiling has been descriptive in nature and has been conducted by
        law enforcement agencies or interest groups. This research has not been
        subjected to peer review, nor has it been published in academic or scholarly
        journals. In addition, none of the prior studies on racial profiling located
        during this literature review examined officer race as a predictor variable.
        Although to varying degrees all of the studies found that minorities were
        stopped or searched in percentages greater than their population or involve-
        ment in crime or traffic violations would warrant, none of the studies was
        able to determine whether these differential stop and search rates were the
        result of differential treatment of minority citizens by White officers. Some
        of the analyses in this article correct for this shortcoming by taking into
        account officer race as a potentially explanatory variable in traffic stop
        situations.

                         DATA, METHODS, AND LIMITATIONS

           Traffic stop data collection began in Richmond on January 17, 2000. All
        officers equipped with mobile data computers (MDCs) in their automobiles
        were required to enter preselected traffic stop data directly into their laptop
        computers. These data were captured by the city's Department of Informa-
        tion Technology, and ultimately, 6 weeks' worth of data (February 14 to
                                                               1
        March 31, 2000) were made available for analysis. Below is a list of the
        fields that were captured during the data collection effort (see Table 1). A
        complete description of the data fields can be found in the appendix. For
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        TABLE 1. Traffic Stop Data Fields Collected by Richmond, Virginia, Police From February 14
                 to March 31, 2000

        Driver Fields               Event Fields                        Officer Fie ids

        Age                        Time of stop                         Age
        Race                       Reason for stop                      Race
        Gender                     Location of stop                     Gender
                                   Disposition of stop                  Years of service
                                   Search conducted?
                                   Type of search




        officers, age and years of service were captured on an ordinal scale. This
        was done to further assure the anonymity of individual officers. In addition
        to the below-listed case-based information, census tract-level data also
        were collected that included the population racial demographics and
        reported crime for each of the city's 70 census tracts. These data served as
        the basis for several analyses, the results of which appear below.
            With the exception of specialty vehicles such as motorcycles or rental
        cars, all Richmond police cars were equipped with MDCs. The city esti-
        mates that no more than 110 out of the 4,329 traffic stops made during the
        6-week period for which data were provided involved non-MDC equipped
        police vehicles. Furthermore, a comparison of the city's computer-aided
        dispatch (CAD) records with the officer-initiated data entries showed that
        officers complied with the data collection protocol in approximately 64% of
        the traffic stops made during the 6-week period for which data were
        obtained. For the remaining 36% of traffic stops that were conducted during
        the February 14 through March 31, 2000, time period, no profiling data
        were entered by the officers.
            Given the sensitive nature of the study and the number of traffic stops
        made daily, a 64% response rate was somewhat higher than expected.None-
        theless, the missing data represent a potentially different pool of traffic
        stops, and so our findings should be interpreted with caution. As racial pro-
        filing continues to be the focus of public debate, more research will hope-
        fully become available against which to compare the findings from this
        study.
            The city's driving-eligible population (age 16 and over) served as the
        main comparison group for our analysis. Because this study analyzed traffic
        stop data, an obvious population against which to make demographic com-
        parisons would have been the city's population of licensed drivers.
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        However, demographic information was not available from the Virginia
        Department of Motor Vehicles for this population. Instead, U.S. census data
        on the city's population of persons 16 years of age and older was used as a
        proxy because persons must be at least 16 years old in Virginia to obtain a
        driver's license. According to the 1990 census, the Richmond Police
        Department serves a city whose population of persons 16 years of age and
        older is 51 % Black, 48% White, and 1% persons of other races.
           Of course, the 1990 census is now 10 years old and soon will be replaced
        by the 2000 census. Nevertheless, it was the most readily available data on
        which to base the analyses contained in this article. Although Richmond has
        not appeared to have undergone any large-scale demographic or economic
        shifts in the past 10 years, it is possible that the racial make-up of the city
        may have changed since 1990. If previous trends hold true, the city's current
        population has likely become slightly smaller and is composed of a greater
        percentage of minorities (predominantly African Americans) as compared
        with 1990. Because minority groups other than African Americans com-
        prise such a small percentage of the city's population (less than 3,000 peo-
        ple), they were sometimes combined for analytical purposes with the Afri-
        can American population into a category labeled "All Minorities."
           Several additional limitations to the data should be acknowledged. To
        begin with, the duration of the period for which data were provided for anal-
        ysis was fairly short (6 weeks). Although we have no reason to believe that
        the data are unrepresentative, a longer data collection period would have
        been preferable and would have accounted for potential seasonal variations
        in traffic stop practices. Second, the data analyzed for this article were
        obtained from officer self-reports. Although self-reports are a common
        source of information in criminal justice and police research (Gamer,
        Buchanan, Schade, & Hepburn, 1996; Gamer & Maxwell, 1999; Snyder &
        Sickmund, 1999), the sensitive nature of these data heightens concern over
        their validity.
           As a result, subject reactivity (Neuman, 1997) remains a distinct threat to
        the validity of our findings. Given the publicity surrounding the issue of
        racial profiling, police officers will likely be suspicious of any traffic stop
        data collection effort that requires them to record information on driver
        race. However, because we know of no practical method for surreptitiously
        collecting traffic stop profiling data, agency-generated records will con-
        tinue to be the only viable source of data for profiling research. In this case,
        the Richmond Police Department made a good faith effort to assure officers
        that the information reported would not be used against them for
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        disciplinary purposes. In fact, the chief of police and a department attorney
        met with all of the patrol roll calls before the study began to explain its pur-
        pose and to allay any fears that the data collected would be used to target
        individuals for punishment. These efforts were specifically designed to
        increase compliance with the data collection protocol and to improve the
        accuracy of the information gathered.
            More important, our analyses do not include baseline data on the percent-
        age of minority and White motorists actually driving within the city of Rich-
        mond or on the percentage of traffic violations committed by persons of the
        various races. Instead, we compare stop percentages of racial groups with
        their prevalence in the 16-and-over population. Although it is possible that
        minorities commit more traffic violations per capita than Whites, thus help-
        ing to explain a higher minority stop rate, this possibility appears unlikely.
            To begin with, Lamberth's (1997) racial profiling studies in New Jersey
        and Maryland, which used field observation to catalogue driver and violator
        race on 1-95, found that Blacks and Whites violated traffic laws (speeding)
        at the same rates (Harris, 1999). Furthermore, self-report measures have
        consistently shown that minorities commit minor crimes and delinquent
        acts at approximately the same rates as Whites (McNeely & Pope, 1981;
        Snyder & Sickmund, 1999). Given that traffic violations are perhaps the
        most minor of offenses, the available evidence suggests that total traffic
        infractions will be distributed among minorities and Whites in approxi-
        mately the same proportions as these racial groups are constituted within a
        given population.
            Whether Blacks and Whites actually drive in proportion to their popula-
        tions within the city of Richmond is an open question and cannot be
        answered with the available data. However, absent the availability of accu-
        rate, baseline operator and traffic violator data by race, the driver's license-
        eligible population within Richmond appears to be a logical group against
        which to compare the demographics of those stopped by the Richmond
        police.
            In fact, comparisons using census data will likely continue to be the norm
        in racial profiling research. Establishing baseline operator and violator data
        is time consuming, expensive, and may be no more accurate than using cen-
        sus data. Lamberth (1997), for example, used "rolling" surveys to identify
        the race of operators and speeding violators along a defined stretch of 1-9 5.
        However, establishing these figures for one portion of the interstate does not
        mean that other stretches of the same or a different interstate within the
        same state will yield the same results.
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        TABLE 2. Racial Breakdown of Traffic Stops and Driving-Eligible Population in Richmond,
                 Virginia, From February 14 to March 31, 2000

                            No. of       Percentage of           Percentage of
                            Stops         Total Stops          Driving Population         Difference

        Whites                 859           32.1                     48.0                 -15.9
        Blacks               1,717           64.2                     50.6                  13.6
                       a
        All minorities       1,814           67.9                     51.9                  16.0

        a. Includes Blacks, Hispanics, Asians, Native Americans, and Middle Easterners.



           Moreover, establishing baseline rates for a large county or municipality
        is even more difficult due to the extreme variations in racial composition
        between different geographic areas or neighborhoods within the same polit-
        ical subdivision. Unlike an interstate highway, cities are not defined areas of
        physical space with limited and controlled access. In addition, observa-
        tional strategies, such as the one used by Lamberth (1997), are suspect.
        Driver race can only be observed during daylight hours, and even then, the
        accuracy of such observations is questionable. Physical differences
        between persons of different racial or ethnic groups are not always easily
        discernible, particularly when the person being observed is driving by in an
        automobile. How does a researcher distinguish between a person of Italian
        versus Hispanic descent, or a dark-skinned person of Arab descent from an
        African American? Because of the difficulties in gathering accurate base-
        line data, researchers will likely continue to use census data as a proxy for
        actual operator and violator data.

                                                    ANALYSIS


        RACE AND THE DECISION TO STOP

           Table 2 shows the racial breakdown by percentages of the 2,673 traffic
        stops included within the sample. Both Blacks and minorities in general
        (including Blacks) were stopped more frequently by the Richmond police
        than their relative percentages in the population. Blacks comprise 51 % of
        the city's 16-and-over population but accounted for 64.2% of the motorists
        stopped. The city's combined minority population 16 and older is 52%, but
        minorities made up more than two thirds of the stopped motorists. Across
        all census tracts, the average Black stop rate of 57 stops per 1,000 Black
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       citizens was 46% higher than the average White stop rate of 39 stops per
       1,000 White citizens.
          As in most of the previous studies on race and traffic stops by police, the
       available data (with their limitations) indicate that minority citizens in Rich-
       mond are stopped more frequently on a per capita basis than White citizens.
       The San Jose Police Department (1999) argued that minorities were over-
       represented among persons stopped because more police officers were
       assigned to minority areas than White areas, thus increasing the likelihood
       of police-citizen encounters. A greater police presence in minority neigh-
       borhoods is needed, according to the San Jose report, because of the higher
       volume of calls received from such neighborhoods.
          The question of whether a higher concentration of police in minority
       neighborhoods explains the disparity in White and minority stop percent-
       ages in Richmond is difficult to answer. Patrol personnel are deployed
       throughout the city of Richmond according to beat assignment. Police beats
       frequently cut across census tract boundaries and often encompass all or
       parts of several census tracts. Determining whether more patrol officers are
       assigned to predominantly minority areas of Richmond than to predomi-
       nantly White areas would require accurate demographic data at the police
       beat level. Unfortunately, these data do not exist.
           However, an examination of the available census tract data reveals that
       neither the number of overall stops (Pearson's r = .177, p = .142) nor stop
       rates (Pearson's r = -.113, p = .353) is correlated with the percentage of
       African Americans living within the 70 census tracts. Although beat-level
       demographics may be different, census tract data show no increase in traffic
       stops as the Black population increases, as one would expect if more Rich-
       mond police officers were deployed in heavily minority neighborhoods
       compared with predominantly White neighborhoods. Again, definitive
       conclusions about the effect, if any, of police deployment practices on racial
       stop percentages cannot be drawn without beat-level demographic data.
           One of the most troubling aspects of racial profiling is the singling out of
       minorities for stops based solely on their suspected involvement in criminal
       activity. Implicit in this alleged practice is the disproportionate involvement
       of White officers in stopping minority drivers. Table 3 presents a logistic
       regression analysis of the salient variables that might potentially predict the
       race of a stopped motorist. Variables in the model include the time of the
       stop, whether the stop was for investigatory purposes (based on "suspi-
       cion"), the Part I crime rate (per 1,000 population) of the census tract where
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        TABLE 3. Factors Predicting Stopped Driver's Race in Richmond, Virginia, From February 14
                 to March 31, 2000 (N = 2,673)

                                                              Driver Race a
                                            B                 Significance       Odds Ratio

        Time of stop                     -.017**                  .006             0.983
        Investigatory stop               -.306                    .181             0.736
        Crime rate                         .000                   .392             1.000
        Officer genderb                  -.493**                  .004             0.611
        Officer age                        .252**                 .000             1.287
        Officer years of service           .041                   .437             1.042
        Officer race•                      .189                   .091             1.207

        Note: Model chi-square= 117.812,p < .01. Nagelkerke R-square = .066.
        a. 0 = minority, I = White.
        b. 0 = female, I = male.
        **p < .01.




        the stop occurred, and the race, age, gender, and years of service of the offi-
        cers making the stops.
           Significant predictors in the model included the time of the stop, officer
        gender, and officer age. The time at which the stop occurred was negligibly
        associated with the race of the motorist stopped. In contrast, officer gender
        was much more strongly associated with motorist race. Overall, female offi-
        cers stopped 104 minority drivers and 71 White drivers, yielding a minority-
        to-White stop ratio of 1.46: 1. In contrast, the minority-to-White stop ratio
        among male officers was significantly higher at 2.17:1 (1,710 minority driv-
        ers stopped vs. 788 Whites). The odds ratio from Table 3 illustrates this dif-
        ference. All things being equal, a stop made by a male officer decreased the
        likelihood that the driver would be White by 39%.
           Officer age was positively correlated with driver race. The distribution of
        stops among the various officer age groupings shows a clear pattern of older
        officers stopping more White drivers relative to younger officers. For exam-
        ple, officers in the 46 to 50 age group stopped more White drivers than
        minority drivers (116 Whites, 72 minorities). This pattern was reversed
        among officers in the 26 to 30 age group who' stopped more than 3 times as
        many minority motorists as White motorists (838 minorities, 275 Whites).
        Thus, the logit model in Table 3 indicates that as officer age increased, the
         odds that the driver stopped would be White also increased by 28.7%.
           As with the disparity between Black and White stop percentages, police
        deployment patterns may explain the differences found between male and
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       female officers and between younger and older officers. It is not uncommon
       for younger, male officers to be assigned to a city's high-crime areas
       (Walker, 1999). Historically, female officers have been viewed as physi-
       cally and emotionally weaker than their male counterparts and thus unable
       to handle the rigors of uniformed patrol (Martin, 1980). For the same rea-
       sons, older officers also may be assigned to beats that are viewed as quieter
       and less demanding.
          In Richmond, the average Part I crime rate (per 1,000 population) is 45 %
       higher in majority African American census tracts compared with majority
       White census tracts. If Richmond police deployment practices reflect the
       considerations discussed above, then one would expect to find female and
       older officers disproportionately assigned to areas of the city that are popu-
       lated by relatively fewer minorities because such areas are thought to have
       less crime and produce fewer calls for service. Such deployment practices
       would explain the differences seen in the logistic regression analysis
       between older officers and younger officers and between male and female
       officers. More research is needed to further explore these differences.
          Significantly, neither officer race nor whether the stop was made for
       investigatory purposes predicted the race of the stopped motorist. Thus, the
       data offer no support for the proposition that minorities were disproportion-
       ately targeted for suspicion-based stops by the Richmond police, as for
       example, occurred in New York City (New York Attorney General's Office,
        1999). The significance level for the officer race variable was well above the
       accepted cutoff level in the social sciences of .05. Even if it were closer to
       the .05 level, the direction of the association between officer and driver race
       was positive, indicating that the involvement of a White officer actually
       increased the odds that the driver also would be White rather than a minor-
       ity. Although these findings provide an interesting contrast with previous
       studies, they should be regarded as preliminary until further research with
       better data controls can be undertaken.

       RACE AND THE DECISION TO SEARCH

          Out of the 2,673 traffic stops recorded during the 6-week data collection
       period, officers reported conducting searches in 211, or 7.9%, of stops.
       Minorities were searched 8.3% of the time when stopped, which was not
       significantly different (chi-square= 1.093) than the percentage of Whites
       who were searched (7.1 %). Given the findings from New Jersey and Mary-
       land that minorities in those states were searched at rates far exceeding the
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        TABLE 4. Type of Search by Driver Race in Richmond, Virginia, From February 14 to
                 March 31, 2000

                                                         Driver Race
                                       White               Minority             Totals

        Consent                      42 (68.9%)           70 (46.7%)             112
        Incident to arrest           14 (23.0%)            61 (40.7%)             75
        Inventory                     0                    JO (6.7%)              JO
        Pat-down                      5 (8.2%)              9 (6.0%)              14
        Totals                      JOO%                  JOO%                   211




        rates at which they were stopped, it is important to note that the percentage
        of searches involving minorities in Richmond (71.1 % of all searches con-
        ducted) was only slightly higher than the percentage of minorities stopped
        (67.9%).
            Another important racial profiling issue is whether minorities are sub-
        jected to different kinds of searches compared with Whites. Specifically,
        were police more likely to perform consent searches on minorities for the
        alleged purpose of uncovering drugs or weapons? As the descriptive data
        from Table 4 indicate, Whites were more likely than minorities to be the
        subjects of consent searches and were also more likely to the subjects of
        pat-down searches. Minorities, on the other hand, were more likely than
        Whites to be searched incident to arrest or to have their vehicles inventoried.
            The higher percentage of minority searches incident to arrest (compared
        with Whites) may be accounted for by the higher percentage of minorities
        subjected to criminal arrest. Minority citizens comprised 78.5% of the total
        number of criminal arrests (n = 555) made during the data collection period.
        Viewed another way, minorities accounted for 77 .9% (n = 352) of the 452
        traffic stops that produced at least one criminal arrest. Thus, they were far
        more likely than Whites to be criminally arrested and therefore potentially
                                                  2
        subjected to searches incident to arrest.
            Table 5 is a logistic regression model of factors predictive of consent
        searches. Consent searches made up approximately one half of all searches
        conducted by the Richmond police (n = 112). The type of violation (moving
         vs. nonmoving) and driver race were the only significant predictors of
        whether a consent search was conducted. Drivers stopped for a moving vio-
        lation were almost 80% more likely to be the subjects of consent searches
        than drivers stopped for vehicle defects or for investigatory purposes. This
        finding is consistent with police profiling practices that use minor moving
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        TABLE 5. Logistic Regression Model of Factors Predicting a Consent Search in Richmond,
                 Virginia, From February 14 to March 31, 2000 (n = 211)

                                                           Consent Search•
                                            B                 Significance     Odds Ratio

        Moving violationb                  .583*                  .046            1.792
        Officer gender°                  -.087                    .898            0.917
        Officer age                        .139                   .390            1.149
        Officer years of service         -.388                    .111            0.678
        Officer raci                     -.130                    .717            0.878
        Driver year of birth             -.015                    .229            0.985
        Driver genderc                   -.169                    .660            0.844
        Driver raced                       .878**                 .009            2.406

        Note: Model chi-square= 18.079,p < .05. Nagelkerke R-square = .110.
        a. 0 = search other than consent, 1 = consent.
        b. 0 = no, 1 = yes.
        c. 0 = female, 1 = male.
        d. 0 = minority, 1 = White.
        •p < .05. ••p < .01.



        violations as a pretext to stop motorists and seek consent to search their
        automobiles (Whren v. United States, 1996).
           However, if moving violations were used as the means for seeking con-
        sent to search, minority drivers were not the likely subjects of these
        searches. In fact, White drivers were almost 21/2 times more likely than
        minority drivers to be the subjects of consent searches by the Richmond
        police. Officer race was not a significant predictor of a consent search.
           Cultural differences between minorities and Whites, including lack of
        trust in the police, may explain why minorities were significantly less likely
        than Whites to be the subjects of consent searches. Minorities generally
        view the police less favorably than Whites, are less confident in the police
        than Whites, and are less likely than Whites to sanction police use of force
        (Flanagan & Vaughn, 1995). Because of these cultural differences, minority
        motorists in Richmond may simply have been less likely than Whites to
        grant consent to the police to search their automobiles.
           Another potential explanation may lie in the nature of Richmond's
        street-level drug market. As in many cities, street-level drug dealing in
        Richmond is disproportionately concentrated in minority neighborhoods.
        White drug purchasers, many of whom drive to minority neighborhoods to
        obtain drugs, easily draw police attention. Patrol officers who work in these
        neighborhoods soon learn to be suspicious of White persons cruising the
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        streets of Black neighborhoods, particularly after dark. Traffic stops of such
        persons are common and are often accompanied by requests to search the
        stopped automobiles.

        RACE AND THE DECISION TO ARREST

           Overall, minority drivers made up 62.9% (n = 995) of all persons ticketed
                                                    1
        or criminally arrested during the 6-week data collection period. This was
        slightly less than the percentage at which they were stopped (67.9%) and
        considerably less than the percentage at which they were arrested citywide
        in 1999 (81.2% of all arrests). White drivers comprised 37.1 % of those tick-
        eted or arrested during the data collection period, compared with 32.1 % of
        persons stopped.
           The ratio of stops to arrests was higher among minorities than it was for
        Whites. The Richmond police stopped 1.8 minorities for every ticket issued
        or arrest made compared with 1.5 Whites. Examining the ratio of arrests/
        summonses to warnings for the various racial groups indicates that minori-
        ties were significantly more likely than Whites to be warned rather than
        arrested or issued a summons. Among minorities, police made 1.2 traffic or
        criminal arrests for every warning given, whereas among Whites the ratio
        was 1.95:1.
           Table 6 presents a logistic regression analysis to further examine this
        issue. In this model, a stop was coded as 1 if any of the three possible
                                                                              3
        recorded dispositions involved an arrest or a summons (n = 1,445). A stop
        was coded as Oif at least one of the dispositions was a warning and none of
        the other dispositions involved an arrest or summons (n = 976). Stops that
        involved neither an arrest nor a warning were coded as missing and played
        no role in the analysis (n = 252). Consequently, this model examines the
        2,421 traffic stops in which officers decided between invoking a legal sanc-
        tion or issuing a warning.
           Significant predictors in the model included the Part I crime rate of the
        area where the stop occurred, officer years of service, driver year of birth,
        and driver race. Again, officer race was not a significant predictor of a puni-
        tive outcome. Although area crime rate and driver year of birth were statisti-
        cally significant, their effect on increasing or decreasing the odds of a legal
        sanction was negligible at .1 % and 1.1 %, respectively. On the other hand, a
        single unit change in officer years of service increased the odds of a legal
        sanction by approximately 37%. Thus, more experienced officers were
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        TABLE 6. Factors Predicting Legal Sanctions or Warnings From Stops Made in Richmond,
                 Virginia, From February 14 to March 31, 2000 (n = 2,421)

                                                      Legal Sanction Versus Warning"
                                             B                Significance             Odds Ratio

        Crime rate of stop location       -.001 **                .001                   0.999
        Officer's genderb                   .066                  .705                   1.068
        Officer's age                       .032                  .439                   1.032
        Officer years of service            .318**                .000                   1.374
        Officer's racec                     .031                  .768                   1.032
        Driver year of birth                .OJ I**               .001                   I.OJ I
        Driver genderb                    -.053                   .548                   0.948
        Driver raced                      -.410**                 .000                   0.664

        Note: Model chi-square= 139.986, p < .01. Nagelkerke R-square = .076.
        a. 0 = warning, I = arrest/summons.
        b. 0 = female, I = male.
        c. 0 = minority, I = White.
        d. 0 = White, I = minority.
        **p < .01.




        more likely than less experienced officers to write summonses or make
        arrests.
           Previous research has found that more older, more experienced officers
        do less work and are generally less aggressive than younger officers with
        fewer years of service (Sherman, 1980). This finding suggests that as a
        means of workload management, more experienced officers might be less
        likely to write tickets or make arrests than less experienced officers. How-
        ever, early work by McNamara (1967) and Niederhoffer (1967) found that
        cynicism among officers increases as they gain more experience. Higher
        levels of cynicism among experienced officers, which manifest themselves
        in "hard-nosed attitudes" toward the public, might account for the greater
        probability of a punitive disposition among more experienced officers.
           The strongest correlate with a punitive disposition was driver race. A
        minority driver as a variable decreased the odds of a punitive disposition
        occurring by a third. Put another way, minority drivers were 50% more
        likely than White drivers to receive a warning rather than be subjected to a
        legal sanction.
           The finding that minorities in Richmond were more likely than Whites to
        be warned rather than legally sanctioned is capable of several interpreta-
        tions. For example, this finding may indicate that Richmond officers altered
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        their behavior because of the research study. Such subject reactivity
        (Neuman, 1997) might also explain why White officers were no more likely
        than Black officers to stop Black motorists. In other words, it is possible that
        officers "cleaned up their act" while the research was under way.
           An alternative explanation for the finding that minorities were more
        likely than Whites to be warned by the police is that minorities may have
        been stopped more frequently than Whites based on weak (or nonexistent)
        evidence. Consistent with racial profiling practices, Richmond officers may
        use minor traffic infractions as a pretext to stop minority motorists; once
        their suspicions are dispelled, they may send those minority drivers on their
        way with only warnings to show for the experience. This explanation is con-
        sistent with Hepburn's (1978) conclusion that minorities were more likely
        than Whites to be arrested under conditions that would not support the
        bringing of formal charges. Similarly, Richmond officers may be more
        likely to stop minorities than Whites for reasons that will not support the
        issuance of a traffic summons.

             COMMENTARY AND SUGGESTIONS FOR FUTURE RESEARCH

           Throughout this article we have acknowledged the limitations of the data
        used in the foregoing analyses and have cautioned that our findings must be
        considered preliminary. Although our findings may change with the avail-
        ability of more and better data, the current data show that minority motorists
        in Richmond were more likely than Whites to be stopped on a per capita
        basis. However, after controlling for other relevant variables, officer race
        did not predict the race of a stopped motorist. White officers did not dis-
        proportionately stop minority drivers, nor were minorities disproportion-
        ately targeted for investigatory or suspicion-based stops. Officer age and
        gender were statistically significant predictors of a stopped driver's race,
        with younger and male officers more likely to stop minorities than older and
        female officers. Police deployment practices that place younger, male offi-
        cers in high-crime areas heavily populated by minorities may help to
        explain this finding (Walker, 1999).
           The data show that once stopped, minorities were no more likely than
        Whites to be searched by police. However, White drivers were almost 2½
        times more likely than minority drivers to be the subjects of consent
        searches, which are frequently used by police in an attempt to locate drugs
        and other contraband in automobiles. Greater levels of police distrust may
        explain why minorities were less likely than Whites to be the subject of
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       consent searches (which quite obviously require consent) (Flanagan &
       Vaughn, 1995), as might the common practice of stopping and searching
       White motorists whom police suspect of purchasing drugs in minority
       neighborhoods.
           Consistent with Niederhoffer's (1967) and McNamara's (1967) findings
       of higher levels of cynicism among experienced officers, Richmond officers
       with more years of service were more likely than less experienced officers
       to act punitively toward motorists. Finally, Whites were significantly more
       likely than minorities to be arrested or issued a ticket, whereas minorities
       were more likely than Whites to be let go with a warning. One explanation
       for this finding consistent with previous research (Hepburn, 1978) may be
       that minorities were more likely than Whites to be stopped for reasons that
       would not support issuing a summons or making an arrest.
           Although the disparities in treatment between Whites and minorities
       were not as extreme in Richmond as in other jurisdictions, (e.g., New Jersey
       and Maryland), one conclusion to be drawn from the present analyses is that
       minorities are being disproportionately targeted for traffic stops by the
       Richmond police. The absence of officer race as a predictor variable in any
       police decision analyzed, however, suggests that if inappropriate racial pro-
       filing is occurring, then discrimination in Richmond has transcended racial
       boundaries and has truly become a problem for all police officers regardless
       of their race.
           An alternative explanation for the disproportionate percentage of minor-
       ity stops and warnings in Richmond is that police traffic stop practices may
       understandably reflect the environment in which Richmond police officers
       function. In 1999, African American suspects made up 89% of Richmond's
       38 homicide arrests. They also accounted for 86% of the aggravated assault
       arrests and 90% of all robbery arrests. At least among these categories of
       serious violent crimes, arrest figures closely track self-report and victimiza-
       tion data and thus provide a reasonably accurate approximation of offend-
       ing rates among racial groups (Hindelang, Hirschi, & Weiss, 1979; Menard,
       1987; Osgood, O'Malley, Bachman, & Johnston, 1989; Reiss, Roth, &
       Miczek, 1994; Tonry, 1995).
           As disturbing as these arrest figures may be, their significance is surely
       not lost on the average Richmond patrol officer. Experience teaches Rich-
       mond officers that most of the persons whom they arrest will be African
       American. Moreover, sociological explanations of minority involvement in
       crime such as poverty, racism, or lack of educational opportunities are
       largely irrelevant in the everyday working life of the cop on the street. As
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        Bittner (1991) pointed out, even the most completely impartial police offi-
        cer "will feel reasonably justified in being more suspicious of the young-
        poor-Black than of the old-rich-White" (p. 38).
           Under these conditions, observers of the Richmond police should not be
        surprised that a disproportionate percentage of the traffic stops that officers
        conducted during the data collection period were of African Americans.
        Although no reasonable person would sanction the stopping of motorists
        based solely on their race, the dilemma faced by communities such as Rich-
        mond is whether to condemn police officers for taking race into account
        among other variables when race may be a salient predictor of criminal
        involvement.
           As discussed in the methodology section, one limitation of this study is
        that we did not have baseline traffic violation data available as means for
        comparison. The National Institute of Justice is currently funding a racial
        profiling study of the North Carolina State Highway Patrol that is attempt-
        ing to gather traffic violator information (driver race) through systematic
        observation of driving behavior (Zingraff, Smith, & Tomaskovic-Devey,
        2000). Such baseline data may prove useful for comparison purposes, par-
        ticularly if there is a close linkage between the reason for the stop and the
        comparison violation data. In other words, baseline violation data would be
        most useful for comparison purposes if the violators who made up the study
        sample had committed the same traffic infraction as those who comprised
        the comparison population. Comparing the racial characteristics of speed-
        ers in the study sample with speeders in the comparison population would
        be appropriate; comparing red light violators with speeders would be less
        defensible.
           Future researchers interested in racial profiling should also give some
        consideration to data-gathering techniques that do not involve agency-
        generated records of traffic stops. As discussed above, racial profiling is
        such a sensitive issue, both for individual officers and for law enforcement
        agencies, that the threat of reactivity and bias from official traffic stop
        records is perhaps an even greater concern than with other kinds of
        police-generated data. Comparing official traffic stop records to field obser-
        vations by independent researchers might be a useful strategy in identifying
        discrepancies, if any, between actual practice and agency-provided data.
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                                          APPENDIX
                            Variables Captured in a Study of
                      Traffic Stop Records in Richmond, Virginia,
                         From February 14 to March 31, 2000

                                                             Scale

           Driver variables
            Age (year of birth)                            interval
            Gender                                         nominal
            Race                                           nominal
              Asian
              Black
              Hispanic
              Native American
              Middle Eastern descent
              White (Caucasian)
           Officer variables
            Race                                           nominal
              Asian
              Black
              Hispanic
              Native American
              Middle Eastern descent
              White (Caucasian)
            Gender                                         nominal
            Age                                            ordinal
              1 = 21-25
              2 = 26-30
              3 = 31-35
              4 = 36-40
              5 = 41-45
              6 = 46-50
              7 = 51-plus
            Length of service                              ordinal
              1 = 0-5 years
              2 = 6-10 years
              3 = 11-15 years
              4 = 16-20 years
              5 = 21-25 years
              6 = 26-plus years
            Shift (day, evening, power)                    nominal
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                                                                          Scale

            Event variables
             Census tract of stop                                       nominal
             Reason for stop                                            nominal
               Defects (no city decal, equipment, expired
                registration or inspection)
               Investigation
               Moving violation
             Disposition of stop (up to three possible)                 nominal
               Advised (warning)
               On-view felony arrest
               On-view misdemeanor arrest
               Summons issued
               Warrant served
               Mental detention order
               Parking/city decal citation
               DUI arrest
               Offense report
               Miscellaneous report
               Juvenile violation report
               Other report
               Suspension notification issued
               Vehicle towed
               Vehicle searched
               Information received
               Stolen vehicle recovered
               Property found or seized
               Guns/weapons found or seized
             Search conducted (yes or no)                               nominal
             Type of search conducted                                   nominal
               Consent
               Incident to arrest
               Inventory
               Pat-down
       Note: DUI = driving under the influence.




                                                  NOTES

           1. After this article was written, an additional 4 weeks worth of data (January 17 to Febru-
       ary 13) were made available by the city. These data are analyzed in a subsequent article that
       will be presented at the April 2001 meeting of the Academy of Criminal Justice Sciences
       (Smith, Petrocelli, & Piquero, 2001).
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            2. Although criminal arrests for each racial group were captured in the data set, it is
       impossible to determine from the data how many persons were actually taken into custody. It
       is likely that some of the criminal arrests resulted in suspects' being released on summonses
       rather than being taken into custody. In those cases, officers would not normally search sus-
       pects ( or their vehicles) incident to arrest (Knowles v. Iowa, 1998).
            3. The data collection protocol allowed officers to enter up to three dispositions. For
       example, one stop may have produced two traffic summonses (two moving violations) and
       one warning (a vehicle defect). Such a stop would have been coded as I because it involved at
       least one arrest or summons.



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